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 5
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 6   EVOLVE TECHNOLOGIES, LLC
 7
 8                        UNITED STATES DISTRICT COURT
 9
                       SOUTHERN DISTRICT OF CALIFORNIA
10
     EVOLVE TECHNOLOGIES, LLC a                         '18CV0671 AJB
                                               Case No. ______________     BGS
11   Delaware limited liability company,
12               Plaintiff,
                                                  ORIGINAL COMPLAINT FOR
13   vs.                                           PATENT INFRINGEMENT
14   COIL WINDING SPECIALIST, INC. a
     California corporation,                        DEMAND FOR JURY TRIAL
15
                 Defendant.
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18
19         Plaintiff Evolve Technologies, LLC (“Evolve” or “Plaintiff”), by and
20   through its attorney, files this Complaint against Defendant Coil Winding
21   Specialist, Inc. (“Defendant” or “CWSI”), and alleges as follows:
22
                                     THE PARTIES
23
           1.    Plaintiff, Evolve Technologies, LLC, is a limited liability company,
24
     organized under the laws of the State of Delaware, having a principal place of
25
     business in Scottsdale, Maricopa County, Arizona.
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                                              1
                                                                    ORIGINAL COMPLAINT
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 1         2.     On information and belief, Defendant, Coil Winding Specialist, Inc.,
 2   is a corporation organized under the laws of the State of California, having a
 3   principal place of business in Orange, California.
 4
                               JURISDICTION AND VENUE
 5
           3.     This is an action for patent infringement. The Court has subject
 6
     matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a) because this action
 7
     arises under the patent laws of the United States, 35 U.S.C. §§ 1 et seq.
 8
           4.     The Court has personal jurisdiction over Defendant in this action.
 9
     Defendant regularly and continuously does business in this District and has
10
     infringed and continues to infringe in this District. Defendant CWSI is
11
     incorporated under the laws of the State of California and, upon information and
12
     belief, has a regular and established place of business within this District under
13
     the trade name Eclipse Efficiencies. The Court has personal jurisdiction over
14
     Defendant because there are at least minimum contacts with the forum and this
15
     District, and the exercise of jurisdiction would not offend traditional notions of
16
     fair play and substantial justice.
17
           5.     Venue is proper in this federal district pursuant to 28 U.S.C. §
18
     1400(b) because Defendant resides within this District, has a regular and
19
     established place of business within this District, and has committed and
20
     continues to commit acts of infringement in this District.
21
                              EVOLVE’S PATENTS-IN-SUIT
22
           6.     On February 1, 2011, the United States Patent & Trademark Office
23
     duly and legally issued United States Letters Patent No. 7,878,417 (“the ’417
24
     Patent”), entitled “Multifunctional Restrictive Valve.”
25
           7.     On May 7, 2013, the United States Patent & Trademark Office duly
26
     and legally issued United States Letters Patent No. 8,434,693 (“the ’693 Patent”),
27
     entitled “Multifunctional Restrictive Valve.”
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                                                                      ORIGINAL COMPLAINT
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 1         8.     On April 12, 2016, the United States Patent & Trademark Office
 2   duly and legally issued United States Letters Patent No. 9,309,655 (“the ’655
 3   Patent”), entitled “Multifunctional Restrictive Valve.”
 4         9.     On April 4, 2017, the United States Patent & Trademark Office duly
 5   and legally issued United States Letters Patent No. 9,611,629 (“the ’629 Patent”),
 6   entitled “Multifunctional Restrictive Valve.”
 7         10.    On March 27, 2018, the United States Patent & Trademark Office
 8   duly and legally issued United States Letters Patent No. 9,927,042 (“the ’042
 9   Patent”), entitled “Multifunctional Restrictive Valve.”
10         11.    Generally, the ’417 Patent, ’693 Patent, ’655 Patent, ’629 Patent, and
11   ’042 Patent (the “Patents-in-Suit”) relate to a multifunctional restrictive valve for
12   controlling the flow of water. More particularly, a multifunctional restrictive
13   valve permits water to pass through the valve until the water reaches a
14   predetermined temperature and then stops the water flow. The multifunctional
15   restrictive valve allows a user to run water unattended to clear the cold water from
16   the water line because the user knows the valve will shut off when the water heats
17   up to minimize wasted hot water.
18         12.    Each of the Patents-in-Suit is owned by Evolve.
19         13.    Evolve makes, offers for sell, and sells valve products covered by the
20   Patents-in-Suit throughout California and the United States.
21         14.    To the extent any marking or notice was required by 35 U.S.C. §
22   287, Evolve has complied with the requirements of that statute by providing
23   actual or constructive notice to Defendant of its alleged infringement.
24               COIL WINDING SPECIALIST, INC. BACKGROUND
25         15.    Upon information and belief, Defendant CWSI makes, uses, offers to
26   sell, sells, and/or imports a valve product under the name “Hot-Start!”
27         16.    Upon information and belief, CWSI markets and/or sells the Hot-
28   Start! product under trade names Eclipse Efficiencies, Inc. and CWS Bytemark.
                                               3
                                                                      ORIGINAL COMPLAINT
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 1         17.       Upon information and belief, CWSI began selling the Hot-Start!
 2   product in the latter half of 2017.
 3         18.       Exhibit   A    is   a   true   and   correct   copy   of   the   website
 4   http://www.eclipseefficiencies.com/hot-start/ as available on March 26, 2018.
 5         19.       Exhibit B is an accurate depiction of a disassembled, annotated Hot-
 6   Start! product.
 7
                                   FIRST CLAIM FOR RELIEF
 8
                     INFRINGEMENT OF U.S. PATENT NO. 7,878,417
 9
           20.       Plaintiff repeats and realleges paragraphs 1 through 19 as if fully set
10
     forth herein.
11
           21.       Defendant has infringed and continues to infringe at least claim 1 of
12
     the ’417 Patent, in this District and elsewhere in the United States by, among
13
     other things, making, using, selling, offering to sell, and/or importing the Hot-
14
     Start! product in the manner described and claimed in the ’417 Patent, either
15
     literally or under the doctrine of equivalents.
16
           22.       Claim 1 of the ’417 Patent covers a “valve for controlling the flow of
17
     water therethrough.” Defendant’s Hot-Start! product is a valve that “reads water
18
     temperature and tells the valve to automatically close and pause water flow.” See,
19
     e.g., Exhibit A. Further, “Easy Flow lever allows easy manual, on / off control
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     without affecting water temperature.” See, e.g., id.
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                                                                           ORIGINAL COMPLAINT
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 1          23.    Claim 1 further recites, “a main body including a channel
 2   therethrough, the channel including channel walls, the main body configured to
 3   receive water at an inlet port and pass water through an outlet port.” Defendant’s
 4   Hot-Start! product includes a main body: a “[s]olid brass chrome finished body.”
 5   See, e.g., Exhibit A. The main body includes a channel, which includes channel
 6   walls, through which water passes. The main body includes a female fitting inlet
 7   port that receives water from, e.g., a pipe fitting. See, e.g., id. The body further
 8   includes a male fitting outlet port through which water passes to, e.g., a shower
 9   head. See, e.g., id.
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            24. Claim 1 further recites:
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            a flow control assembly in operative engagement with the main body, the
23          flow control assembly including a temperature sensor and piston, adapted
            to substantially block and unblock the flow of water in the channel
24
            responsive to the temperature sensor.
25
     Defendant’s Hot-Start! product includes a flow control assembly in operative
26
     engagement with the main body. See, e.g., Exhibit B (including at least some of
27
     labeled actuator retainer, actuator relief spring, actuator support, thermal actuator,
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                                                5
                                                                       ORIGINAL COMPLAINT
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 1   piston, reset spring, bypass pin, bypass pin retainer, torsion spring, and handle).
 2   The flow control assembly includes a temperature sensor and piston. See, e.g., id.
 3   (including at least some of labeled thermal actuator and piston). The flow control
 4   assembly “automatically reduce[s] [the water flow] to a trickle” “[a]s the shower
 5   temperature reaches 95 degrees F.” See, e.g., Exhibit A. Further, “Easy Flow lever
 6   allows easy manual, on / off control without affecting water temperature.” See,
 7   e.g., id.
 8          25. Claim 1 further recites:
 9          the flow control assembly further including an override assembly movable
            between a first position and a second position, the second position
10          configured to enable the temperature sensor and piston to control the flow
11          of water through the main body, the first position configured to override the
            temperature sensor and piston and allow water to flow, the override
12          assembly further configured to be securely set in the first position.
13   The flow control assembly includes an override assembly. See, e.g., Exhibit B
14   (including at least some of labeled bypass pin, bypass pin retainer, torsion spring,
15   and handle). The override assembly is moveable between a first position (e.g.,
16   when the handle is in a downward position in Exhibit A) and a second position
17   (e.g., when the handle is in an upward position in Exhibit A). In the upward
18   position, the thermal actuator and piston are enabled to control the flow of water:
19   “As the shower temperature reaches 95 degrees F. water flow is automatically
20   reduced to a trickle.” See, e.g., Exhibit A. In the downward position, the thermal
21   actuator and piston are overridden to allow water to flow: “Pull cord when ready
22   to shower.” See, e.g., id. “Easy flow lever allows easy manual on / off control
23   without affecting water temperature.” See, e.g., id. The handle remains securely
24   set in the downward position, e.g., to permit showering without requiring the user
25   to hold the handle (e.g., cord) down.
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                                                                      ORIGINAL COMPLAINT
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17         26.    By making, using, selling, offering to sell, and/or importing such
18   Hot-Start! product in this district and elsewhere in the United States, and all like
19   products that are covered by one or more claims of the ’417 Patent, including at
20   least claim 1, Defendant has infringed and continues to infringe the ’417 Patent,
21   either literally or under the doctrine of equivalents.
22         27.    Defendant has had knowledge of the ’417 Patent since at least
23   January 2017.
24         28.    Upon information and belief, Defendant will continue to infringe the
25   ’417 Patent unless enjoined by this Court.
26         29.    As a direct and proximate result of Defendant’s infringement of the
27   ’417 Patent, Evolve has been and continues to be damaged in an amount yet to be
28   determined, but in no event less than a reasonable royalty for the making, use,
                                                7
                                                                      ORIGINAL COMPLAINT
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 1   sell, offering for sale, and/or importation of the invention by Defendant, together
 2   with interest and costs as fixed by the Court.
 3         30.       Unless a preliminary and permanent injunction are issued enjoining
 4   Defendant and its officers, agents, servants and employees, and all others acting
 5   on their behalf or in concert with Defendant, from infringing the ’417 Patent,
 6   Evolve will be greatly and irreparably harmed.
 7
                               SECOND CLAIM FOR RELIEF
 8
                     INFRINGEMENT OF U.S. PATENT NO. 8,434,693
 9
           31.       Plaintiff repeats and realleges paragraphs 1 through 30 as if fully set
10
     forth herein.
11
           32.       Defendant has infringed and continues to infringe at least claim 1 of
12
     the ’693 Patent, in this District and elsewhere in the United States by, among
13
     other things, making, using, selling, offering to sell, and/or importing the Hot-
14
     Start! product in the manner described and claimed in the ’693 Patent, either
15
     literally or under the doctrine of equivalents.
16
           33.       Claim 1 of the ’693 Patent covers a “valve for controlling the flow of
17
     water therethrough.” Defendant’s Hot-Start! product is a valve that “reads water
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     temperature and tells the valve to automatically close and pause water flow.” See,
19
     e.g., Exhibit A. Further, “Easy Flow lever allows easy manual, on / off control
20
     without affecting water temperature.” See, e.g., id.
21
           34.       Claim 1 further recites, “a main body including a channel
22
     therethrough, the channel including channel walls, the main body for receiving
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     water at an inlet port and passing water through an outlet port.” Defendant’s Hot-
24
     Start! product includes a main body: a “[s]olid brass chrome finished body.” See,
25
     e.g., Exhibit A. The main body includes a channel, which includes channel walls,
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     through which water passes. The main body includes a female fitting inlet port
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     that receives water from, e.g., a pipe fitting. See, e.g., id. The body further
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                                                  8
                                                                         ORIGINAL COMPLAINT
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 1   includes a male fitting outlet port through which water passes to, e.g., a shower
 2   head. See, e.g., id.
 3          35. Claim 1 further recites:
 4          a flow control assembly in operative engagement with the main body, the
            flow control assembly including a temperature sensor and piston assembly,
 5          the temperature sensor and piston assembly including a temperature sensor
 6          and a piston, the temperature sensor engaged with the channel walls of the
            main body, the temperature sensor and piston assembly adapted to
 7          substantially block and unblock the flow of water in the channel responsive
 8          to the temperature sensor.
     Defendant’s Hot-Start! product includes a flow control assembly in operative
 9
     engagement with the main body. See, e.g., Exhibit B (including at least some of
10
     labeled actuator retainer, actuator relief spring, actuator support, thermal actuator,
11
     piston, reset spring, bypass pin, bypass pin retainer, torsion spring, and handle).
12
     The flow control assembly includes a temperature sensor and piston assembly.
13
     See, e.g., id. (including at least some of labeled actuator retainer, actuator relief
14
     spring, actuator support, thermal actuator, piston, and reset spring). The
15
     temperature sensor and piston assembly includes a temperature sensor and piston.
16
     See, e.g., id. (including at least labeled thermal actuator and piston). The thermal
17
     actuator, when assembled, is engaged with the channel walls of the main body.
18
     The temperature sensor and piston assembly “automatically reduce[s] [the water
19
     flow] to a trickle” “[a]s the shower temperature reaches 95 degrees F.” See, e.g.,
20
     Exhibit A.
21
            36. Claim 1 further recites:
22
            the flow control assembly further including an override assembly movable
23          between a first and a second position, the second position for enabling the
24          temperature sensor and piston assembly to control the flow of water
            through the main body, the first position for bypassing the temperature
25          sensor and piston assembly and allowing water to flow, the override
26          assembly further including means to set the override assembly in the
            second position.
27
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                                                                       ORIGINAL COMPLAINT
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  1   The flow control assembly includes an override assembly. See, e.g., Exhibit B
  2   (including at least some of labeled bypass pin, bypass pin retainer, torsion spring,
  3   and handle). The override assembly is moveable between a first position (e.g.,
  4   when the handle is in a downward position in Exhibit A) and a second position
  5   (e.g., when the handle is in an upward position in Exhibit A). In the upward
  6   position, the temperature sensor and piston assembly are enabled to control the
  7   flow of water through the main body: “As the shower temperature reaches 95
  8   degrees F. water flow is automatically reduced to a trickle.” See, e.g., Exhibit A.
  9   In the downward position, the thermal actuator and piston are bypassed to allow
10    water to flow: “Pull cord when ready to shower.” See, e.g., id. “Easy flow lever
11    allows easy manual on / off control without affecting water temperature.” See,
12    e.g., id. The override assembly includes, e.g., a handle, a torsion spring, a bypass
13    pin retainer, and/or a bypass pin to set the override assembly in the upward
14    position. “HotStart! Automatically returns to its default ready position.” Id.
15          37.    By making, using, selling, offering to sell, and/or importing such
16    Hot-Start! product in this district and elsewhere in the United States, and all like
17    products that are covered by one or more claims of the ’693 Patent, including at
18    least claim 1, Defendant has infringed and continues to infringe the ’693 Patent,
19    either literally or under the doctrine of equivalents.
20          38.    Defendant has had knowledge of the ’693 Patent since at least
21    January 2017.
22          39.    Upon information and belief, Defendant will continue to infringe the
23    ’693 Patent unless enjoined by this Court.
24          40.    As a direct and proximate result of Defendant’s infringement of the
25    ’693 Patent, Evolve has been and continues to be damaged in an amount yet to be
26    determined, but in no event less than a reasonable royalty for the making, use,
27    sell, offering for sale, and/or importation of the invention by Defendant, together
28    with interest and costs as fixed by the Court.
                                                 10
                                                                        ORIGINAL COMPLAINT
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  1         41.       Unless a preliminary and permanent injunction are issued enjoining
  2   Defendant and its officers, agents, servants and employees, and all others acting
  3   on their behalf or in concert with Defendant, from infringing the ’693 Patent,
  4   Evolve will be greatly and irreparably harmed.
  5
                                  THIRD CLAIM FOR RELIEF
  6
                      INFRINGEMENT OF U.S. PATENT NO. 9,309,655
  7
            42.       Plaintiff repeats and realleges paragraphs 1 through 41 as if fully set
  8
      forth herein.
  9
            43.       Defendant has infringed and continues to infringe at least claim 5 of
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      the ’655 Patent, in this District and elsewhere in the United States by, among
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      other things, making, using, selling, offering to sell, and/or importing the Hot-
12
      Start! product in the manner described and claimed in the ’655 Patent, either
13
      literally or under the doctrine of equivalents.
14
            44.       Claim 5 of the ’655 Patent covers a “valve for controlling a flow of
15
      water.” Defendant’s Hot-Start! product is a valve that “reads water temperature
16
      and tells the valve to automatically close and pause water flow.” See, e.g., Exhibit
17
      A. Further, “Easy Flow lever allows easy manual, on / off control without
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      affecting water temperature.” See, e.g., id.
19
            45.       Claim 5 also recites, “a main body including a channel extending
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      through the main body, the channel configured to receive water at an inlet port
21
      and pass water to an outlet port.” Defendant’s Hot-Start! product includes a main
22
      body: a “[s]olid brass chrome finished body.” See, e.g., Exhibit A. The main body
23
      includes a channel extending through the main body through which water passes.
24
      The main body includes a female fitting inlet port that receives water from, e.g., a
25
      pipe fitting. See, e.g., id. The main body further includes a male fitting outlet port
26
      through which water passes to, e.g., a shower head. See, e.g., id.
27
            46.       Claim 5 also recites:
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                                                  11
                                                                          ORIGINAL COMPLAINT
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  1         a flow control assembly in operative engagement with the channel, the flow
  2         control assembly including: a temperature sensor configured to sense a
            temperature of water flowing through the channel; and a flow control
  3         member configured to substantially block a flow of water in the channel
  4         responsive to the temperature sensor.

  5   Defendant’s Hot-Start! product includes a flow control assembly in operative

  6   engagement with the channel in the main body. See, e.g., Exhibit B (including at

  7   least some of labeled actuator retainer, actuator relief spring, actuator support,

  8   thermal actuator, piston, reset spring, bypass pin, bypass pin retainer, torsion

  9   spring, and handle). The flow control assembly includes a temperature sensor that

10    is configured to sense a temperature of water flowing through the channel. See,

11    e.g., id. (including at least labeled thermal actuator). The flow control assembly

12    includes a flow control member that is configured to block a flow of water in the

13    channel of the main body responsive to the thermal actuator. See, e.g., id.

14    (including at least labeled piston). The flow control assembly “automatically

15    reduce[s] [the water flow] to a trickle” “[a]s the shower temperature reaches 95

16    degrees F.” See, e.g., Exhibit A.

17          47. Claim 5 also recites:
            the flow control member movable between a first position and a second
18          position, where in when the flow control member is between the first
19          position and the second position the flow control member is configured to
            control the flow of water through the channel as a function of the
20          temperature sensor, where in when the flow control member is in the
21          second position water is substantially blocked from flowing in the channel.
22    The piston is moveable between a first position (e.g., an open position allowing

23    water to flow through the channel) and a second position (e.g., a closed position

24    prohibiting substantial flow of water through the channel). Between the open and

25    closed positions, the piston is configured to control the flow of water as a function

26    of the thermal actuator: “Turn shower on to ‘hot’.” See, e.g., Exhibit A. In the

27    closed position, the piston substantially blocks water from flowing: “As the

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                                                                       ORIGINAL COMPLAINT
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  1   shower temperature reaches 95 degrees F. water flow is automatically reduced to
  2   a trickle.” See, e.g., Exhibit A.
  3         48.    Claim 5 also recites, “the flow control assembly is configurable to
  4   allow water to flow in the channel regardless of the temperature of water flowing
  5   through the channel.” The flow control assembly is configurable to allow water to
  6   flow in the channel in the main body regardless of water temperature. When the
  7   handle is pulled downward, the thermal actuator and piston are overridden to
  8   allow water to flow regardless of the temperature of water flowing through the
  9   channel: “Pull cord when ready to shower. Adjust shower to comfort level.” See,
10    e.g., Exhibit A. “Easy flow lever allows easy manual on / off control without
11    affecting water temperature.” See, e.g., id.
12          49.    By making, using, selling, offering to sell, and/or importing such
13    Hot-Start! product in this district and elsewhere in the United States, and all like
14    products that are covered by one or more claims of the ’655 Patent, including at
15    least claim 5, Defendant has infringed and continues to infringe the ’655 Patent,
16    either literally or under the doctrine of equivalents.
17          50.    Defendant has had knowledge of the ’655 Patent since at least
18    January 2017.
19          51.    Upon information and belief, Defendant will continue to infringe the
20    ’655 Patent unless enjoined by this Court.
21          52.    As a direct and proximate result of Defendant’s infringement of the
22    ’655 Patent, Evolve has been and continues to be damaged in an amount yet to be
23    determined, but in no event less than a reasonable royalty for the making, use,
24    sell, offering for sale, and/or importation of the invention by Defendant, together
25    with interest and costs as fixed by the Court.
26          53.    Unless a preliminary and permanent injunction are issued enjoining
27    Defendant and its officers, agents, servants and employees, and all others acting
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                                                 13
                                                                       ORIGINAL COMPLAINT
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  1   on their behalf or in concert with Defendant, from infringing the ’655 Patent,
  2   Evolve will be greatly and irreparably harmed.
  3
                                FOURTH CLAIM FOR RELIEF
  4
                      INFRINGEMENT OF U.S. PATENT NO. 9,611,629
  5
            54.       Plaintiff repeats and realleges paragraphs 1 through 53 as if fully set
  6
      forth herein.
  7
            55.       Defendant has infringed and continues to infringe claim 1 of the ’629
  8
      Patent, in this District and elsewhere in the United States by, among other things,
  9
      making, using, selling, offering to sell, and/or importing the Hot-Start! product in
10
      the manner described and claimed in the ’629 Patent, either literally or under the
11
      doctrine of equivalents.
12
            56.       Claim 1 of the ’629 Patent covers a “valve for controlling a flow of
13
      water.” Defendant’s Hot-Start! product is a valve that “reads water temperature
14
      and tells the valve to automatically close and pause water flow.” See, e.g., Exhibit
15
      A. Further, “Easy Flow lever allows easy manual, on / off control without
16
      affecting water temperature.” See, e.g., id.
17
            57.       Claim 1 also recites, “a main body including a channel extending
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      through the main body, the channel configured to receive water at an inlet port
19
      and pass water to an outlet port.” Defendant’s Hot-Start! product includes a main
20
      body: a “[s]olid brass chrome finished body.” See, e.g., Exhibit A. The main body
21
      includes a channel extending through the main body through which water passes.
22
      The main body includes a female fitting inlet port that receives water from, e.g., a
23
      pipe fitting. See, e.g., id. The body further includes a male fitting outlet port
24
      through which water passes to, e.g., a shower head. See, e.g., id.
25
            58. Claim 1 also recites:
26          a flow control assembly in operative engagement with the channel, the flow
27          control assembly including: a temperature sensor configured to sense a
            temperature of water flowing through the channel; and a flow control
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                                                  14
                                                                          ORIGINAL COMPLAINT
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  1         member configured to control a flow of water in the channel responsive to
  2         the temperature sensor.

  3   Defendant’s Hot-Start! product includes a flow control assembly in operative

  4   engagement with the channel in the main body. See, e.g., Exhibit B (including at

  5   least some of labeled actuator retainer, actuator relief spring, actuator support,

  6   thermal actuator, piston, reset spring, bypass pin, bypass pin retainer, torsion

  7   spring, and handle). The flow control assembly includes a temperature sensor that

  8   is configured to sense a temperature of water flowing through the channel. See,

  9   e.g., id. (including at least labeled thermal actuator). The flow control assembly

10    includes a flow control member that is configured to control a flow of water in the

11    channel of the main body responsive to the thermal actuator. See, e.g., id.

12    (including at least labeled piston). The flow control assembly “automatically

13    reduce[s] [the water flow] to a trickle” “[a]s the shower temperature reaches 95

14    degrees F.” See, e.g., Exhibit A.

15          59. Claim 1 also recites:
            the flow control member movable between a first position and a second
16          position, where in when the flow control member is in the first position the
17          flow control member is configured to allow the flow of water through the
            channel as a function of the temperature sensor, where in when the flow
18          control member is in the second position water is substantially blocked
19          from flowing in the channel.
20    The piston is moveable between a first position (e.g., an open position allowing

21    water to flow through the channel) and a second position (e.g., a closed position

22    prohibiting substantial flow of water through the channel). In the open closed

23    position, the piston is configured to allow the flow of water as a function of the

24    thermal actuator: “Turn shower on to ‘hot’.” See, e.g., Exhibit A. In the closed

25    position, the piston substantially blocks water from flowing: “As the shower

26    temperature reaches 95 degrees F. water flow is automatically reduced to a

27    trickle.” See, e.g., Exhibit A.

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  1         60.      Claim 1 also recites, “the flow control assembly is configurable to
  2   allow water to flow in the channel regardless of the temperature of water flowing
  3   through the channel.” The flow control assembly is configurable to allow water to
  4   flow in the channel in the main body regardless of water temperature. When the
  5   handle is pulled downward, the thermal actuator and piston are overridden to
  6   allow water to flow regardless of the temperature of water flowing through the
  7   channel: “Pull cord when ready to shower. Adjust shower to comfort level.” See,
  8   e.g., Exhibit A. “Easy flow lever allows easy manual on / off control without
  9   affecting water temperature.” See, e.g., id.
10          61.      By making, using, selling, offering to sell, and/or importing such
11    Hot-Start! product in this district and elsewhere in the United States, and all like
12    products that are covered by claim 1 of the ’629 Patent, Defendant has infringed
13    and continues to infringe the ’629 Patent, either literally or under the doctrine of
14    equivalents.
15          62.      Defendant has had knowledge of the ’629 Patent since at least the
16    filing of this complaint.
17          63.      Upon information and belief, Defendant will continue to infringe the
18    ’629 Patent unless enjoined by this Court.
19          64.      As a direct and proximate result of Defendant’s infringement of the
20    ’629 Patent, Evolve has been and continues to be damaged in an amount yet to be
21    determined, but in no event less than a reasonable royalty for the making, use,
22    sell, offering for sale, and/or importation of the invention by Defendant, together
23    with interest and costs as fixed by the Court.
24          65.      Unless a preliminary and permanent injunction are issued enjoining
25    Defendant and its officers, agents, servants and employees, and all others acting
26    on their behalf or in concert with Defendant, from infringing the ’629 Patent,
27    Evolve will be greatly and irreparably harmed.
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  1                               FIFTH CLAIM FOR RELIEF
  2                   INFRINGEMENT OF U.S. PATENT NO. 9,927,042
  3          66.      Plaintiff repeats and realleges paragraphs 1 through 65 as if fully set
  4   forth herein.
  5          67.      Defendant has infringed and continues to infringe claim 1 of the ’042
  6   Patent, in this District and elsewhere in the United States by, among other things,
  7   making, using, selling, offering to sell, and/or importing the Hot-Start! product in
  8   the manner described and claimed in the ’042 Patent, either literally or under the
  9   doctrine of equivalents.
10           68.      Claim 1 of the ’042 Patent covers a “valve for controlling a flow of
11    water.” Defendant’s Hot-Start! product is a valve that “reads water temperature
12    and tells the valve to automatically close and pause water flow.” See, e.g., Exhibit
13    A. Further, “Easy Flow lever allows easy manual, on / off control without
14    affecting water temperature.” See, e.g., id.
15           69.      Claim 1 further recites, “a main body including a channel extending
16    through the main body, the channel configured to receive water at an inlet port
17    and pass water to an outlet port.” Defendant’s Hot-Start! product includes a main
18    body: a “[s]olid brass chrome finished body.” See, e.g., Exhibit A. The main body
19    includes a channel extending through the main body through which water passes.
20    The channel is configured to receive water by a female fitting inlet port from, e.g.,
21    a pipe fitting. See, e.g., id. The channel is configured to pass water to a male
22    fitting outlet port to, e.g., a shower head. See, e.g., id.
23           70. Claim 1 further recites:
24           a flow control assembly in operative engagement with the channel, the flow
             control assembly including: a temperature sensor configured to sense a
25           temperature of water flowing through the channel; a flow control member
26           configured to control a flow of water then channel responsive to the
             temperature sensor.
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  1   Defendant’s Hot-Start! product includes a flow control assembly in operative
  2   engagement with the channel in the main body. See, e.g., Exhibit B (including at
  3   least some of labeled actuator retainer, actuator relief spring, actuator support,
  4   thermal actuator, piston, reset spring, bypass pin, bypass pin retainer, torsion
  5   spring, and handle). The flow control assembly includes a temperature sensor to
  6   sense a temperature of water flowing through the channel. See, e.g., id. (including
  7   at least labeled thermal actuator). The flow control assembly includes a flow
  8   control member configured to control a flow of water through the channel
  9   responsive to the thermal actuator. See, e.g., id. (including at least labeled piston).
10    The flow control assembly “automatically reduce[s] [the water flow] to a trickle”
11    “[a]s the shower temperature reaches 95 degrees F.” See, e.g., Exhibit A.
12          71. Claim 1 further recites:
13          the flow control member movable between a first position and a second
            position, where in when the flow control member is in the first position the
14          flow control member is configured to allow the flow of water through the
15          channel as function of the temperature sensor, where in when the flow
            control member is in the second position water is restricted from flowing in
16          the channel.
17    The piston is moveable between a first position (e.g., an open position allowing
18    water to flow through the channel) and a second position (e.g., a closed position
19    prohibiting substantial flow of water through the channel). In the open position,
20    the piston is configured to allow the flow of water as a function of the thermal
21    actuator: “Turn shower on to ‘hot’.” See, e.g., Exhibit A. In the closed position,
22    the piston substantially restricts water from flowing in the channel: “As the
23    shower temperature reaches 95 degrees F. water flow is automatically reduced to
24    a trickle.” See, e.g., Exhibit A.
25          72.    Claim 1 further recites, “a member configured to be securely set to
26    allow water to flow in the channel regardless of the temperature of water flowing
27    through the channel.” The flow control assembly includes a member configured to
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  1   be securely set to allow water to flow. See, e.g., Exhibit B (including at least some
  2   of bypass pin, bypass pin retainer, torsion spring, and handle). When the handle is
  3   pulled downward, the water flows regardless of the temperature of water flowing
  4   through the channel: “Pull cord when ready to shower. Adjust shower to comfort
  5   level.” See, e.g., Exhibit A. “Easy flow lever allows easy manual on / off control
  6   without affecting water temperature.” See, e.g., id. The handle remains securely
  7   set in the downward position, e.g., to permit showering without requiring the user
  8   to hold the handle (e.g., cord) down.
  9         73.      By making, using, selling, offering to sell, and/or importing such
10    Hot-Start! product in this district and elsewhere in the United States, and all like
11    products that are covered by claim 1 of the ’042 Patent, Defendant has infringed
12    and continues to infringe the ’042 Patent, either literally or under the doctrine of
13    equivalents.
14          74.      Defendant has had knowledge of the ’042 Patent since at least the
15    filing of this complaint.
16          75.      Upon information and belief, Defendant will continue to infringe the
17    ’042 Patent unless enjoined by this Court.
18          76.      As a direct and proximate result of Defendant’s infringement of the
19    ’042 Patent, Evolve has been and continues to be damaged in an amount yet to be
20    determined, but in no event less than a reasonable royalty for the making, use,
21    sell, offering for sale, and/or importation of the invention by Defendant, together
22    with interest and costs as fixed by the Court.
23          77.      Unless a preliminary and permanent injunction are issued enjoining
24    Defendant and its officers, agents, servants and employees, and all others acting
25    on their behalf or in concert with Defendant, from infringing the ’042 Patent,
26    Evolve will be greatly and irreparably harmed.
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  1                                 PRAYER FOR RELIEF
  2            WHEREFORE, Plaintiff Evolve requests entry of judgment in its favor
  3   and against Defendant on all claims as follows:
  4            A.    For an Order that Defendant has infringed the ’417 Patent, ’693
  5   Patent, ’655 Patent, ’629 Patent, and/or ’042 Patent;
  6            B.    For an Order that Defendant, its directors, officers, agents, servants,
  7   employees, successors, subsidiaries, assigns, licensees, and all other persons or
  8   entities acting or attempting to act in active concert or participation with
  9   Defendant, or acting on Defendant’s behalf, be preliminary and permanently
10    enjoined from making, using, selling, or offering for sale in the United States, or
11    importing into the United States, any and all products embodying the patented
12    inventions claimed the ’417 Patent, ’693 Patent, ’655 Patent, ’629 Patent, and/or
13    ’042 Patent;
14             C.    For an award to Evolve of damages arising out of Defendant’s
15    infringement of the ’417 Patent, ’693 Patent, ’655 Patent, ’629 Patent, and/or ’042
16    Patent pursuant to 35 U.S.C. § 284;
17             D.    For an award to Evolve of enhanced damages pursuant to 35 U.S.C.
18    § 284;
19             E.    For an award to Evolve of pre-judgment and post-judgment interest;
20             F.    For an Order finding that this is an exceptional case within the
21    meaning of 35 U.S.C. § 285 and awarding to Evolve its costs, expenses, and fees,
22    including reasonable attorneys’ fees; and
23             G.    For any such other and further relief, such as costs incurred, as the
24    Court may deem just and proper.
25
                                 DEMAND FOR JURY TRIAL
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               Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
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      demands a trial by jury of all issues so triable.
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  2        RESPECTFULLY SUBMITTED this 3rd day of April 2018.
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  4
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